               Case 23-10831-MFW               Doc 887        Filed 01/04/24        Page 1 of 17




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al., 1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                                      CERTIFICATE OF SERVICE

      I, Michael Villa, depose and say that I am employed by Kurtzman Carson Consultants LLC
(KCC), the claims and noticing agent for the Debtors in the above-captioned case.

        On January 2, 2024, at my direction and under my supervision, employees of KCC caused
to be served the following documents via Electronic Mail upon the service lists attached hereto as
Exhibit A and Exhibit B; and via First Class Mail upon the service lists attached hereto as Exhibit
C and Exhibit D:

    •    Certification of Counsel Regarding Second Stipulation Between Debtors and U.S.
         Securities and Exchange Commission to Extend the Deadline to File Claims [Docket
         No. 877]

    •    Order Approving Second Stipulation Between Debtors and U.S. Securities and
         Exchange Commission to Extend the Deadline for Filing Proofs of Claim [Docket No.
         879]

        Furthermore, on January 2, 2024, at my direction and under my supervision, employees of
KCC caused to be served the following document Electronic Mail upon the service list attached
hereto as Exhibit E; and via First Class Mail upon the service list attached hereto as Exhibit F:




                                           (Continued on Next Page)




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
            Case 23-10831-MFW        Doc 887    Filed 01/04/24   Page 2 of 17




   •   Second Monthly Application of Jefferies LLC for Allowance of Compensation for
       Services Rendered and Reimbursement of Expenses Incurred as Investment Banker
       for the Debtors and Debtors in Possession for the Period from October 1, 2023 to and
       Including October 31, 2023 [Docket No. 880]

Dated: January 4, 2024
                                                /s/ Michael Villa
                                                Michael Villa
                                                KCC
                                                222 N Pacific Coast Highway, 3rd Floor
                                                El Segundo, CA 90245
                                                Tel 310.823.9000




                                            2
Case 23-10831-MFW   Doc 887   Filed 01/04/24   Page 3 of 17




                    Exhibit A
                              Case 23-10831-MFW                    Doc 887          Filed 01/04/24               Page 4 of 17
                                                                          Exhibit A
                                                                   Core/2002 Service List
                                                                  Served via Electronic Mail



                Description                           CreditorName                      CreditorNoticeName                             Email
                                                                                                                     daniel.guyder@allenovery.com;
                                                                                                                     bradley.pensyl@allenovery.com;
 Counsel to Hon Hai Precision Industry                                                                               chris.newcomb@allenovery.com;
 Co., Ltd. (a/k/a Hon Hai Technology                                             Daniel Guyder, Bradley Pensyl,      justin.ormand@allenovery.com;
 Group), Foxconn EV Technology, Inc.,                                            Christopher Newcomb, Justin         joseph.badtke-berkow@allenovery.com;
 Foxconn EV Property Development LLC,                                            Ormand, Joseph Badtke-Berkow,       jacob.herz@allenovery.com;
 and Foxconn EV System LLC                 Allen & Overy LLP                     Jacob R. Herz, Robin Spigel         robin.spigel@allenovery.com
 Counsel to Hon Hai Precision Industry
 Co., Ltd. (a/k/a Hon Hai Technology
 Group), Foxconn EV Technology, Inc.,                                                                                noah.brumfield@allenovery.com;
 Foxconn EV Property Development LLC,                                            Noah Brumfield, Patrick Pearsall,   patrick.pearsall@allenovery.com;
 and Foxconn EV System LLC                 Allen & Overy LLP                     Michael Modesto Gale                michael.modestogale@allenovery.com
 Counsel to Applied Medical Resources
 Corp.                                     Austria Legal, LLC                    Matthew P. Austria                  maustria@austriallc.com
 Committee of Unsecured Creditors          Barry L. Leonard & Co. Inc.           Attn: Kim Parsons                   kim@trans-machine.com
 Top 30 and Committee of Unsecured
 Creditors                                 Barry L. Leonard and Company Inc.     dba Trans Machine Technologies Barry@trans-machine.com
 Counsel to Edward Hightower and Adam Benesch Friedlander Coplan &               Jennifer R. Hoover, Steven L.  jhoover@Beneschlaw.com;
 Kroll                                     Aronoff LLP                           Walsh                          swalsh@Beneschlaw.com
 Counsel to Benjamin Hebert and Atri Amin
 on behalf of themselves and similarly                                                                               greg.varallo@blbglaw.com;
 situated stockholders of Lordstown Motors Bernstein Litowitz Berger &           Gregory V. Varallo, Glenn R.        glenn.mcgillivray@blbglaw.com;
 Corp. f/k/a DiamondPeak Holdings Corp. Grossmann LLP                            McGillivray, Daniel Meyer           daniel.meyer@blbglaw.com
 Counsel to Benjamin Hebert and Atri Amin
 on behalf of themselves and similarly                                           Jeroen van Kwawegen, Thomas         jeroen@blbglaw.com;
 situated stockholders of Lordstown Motors Bernstein Litowitz Berger &           G. James, Margaret Sanborn-         Thomas.James@blbglaw.com;
 Corp. f/k/a DiamondPeak Holdings Corp. Grossmann LLP                            Lowing                              Margaret.Lowing@blbglaw.com
 Counsel to the Official Committee of                                            Matthew A. Sawyer, Sharon I.        msawyer@brownrudnick.com;
 Equity Security Holders                   Brown Rudnick LLP                     Dwoskin                             sdwoskin@brownrudnick.com
                                                                                                                     rstark@brownrudnick.com;
 Counsel to the Official Committee of                                            Robert J. Stark, Bennett S.         bsilverberg@brownrudnick.com;
 Equity Security Holders                   Brown Rudnick LLP                     Silverberg, Michael S. Winograd     mwinograd@brownrudnick.com

 Counsel to Oracle America, Inc.             Buchalter, A Professional Corporation Shawn M. Christianson, Esq.       schristianson@buchalter.com
 Counsel to Cigna Health and Life
 Insurance Company                           Connolly Gallagher LLP                Jeffrey C. Wisler                 jwisler@connollygallagher.com
 Official Committee of Equity Security
 Holders                                     Crestline Management, L.P.            Attn: Shaun McGowan               summitcompliance@crestlineinc.com
 Bankruptcy Counsel to the to the
 Securities Litigation Lead Plaintiff George
 Troicky                                     Cross & Simon, LLC                    Christopher P. Simon, Esq.        csimon@crosslaw.com
                                                                                                                     attorney.general@state.de.us;
 Delaware State AG and DOJ                 Delaware Dept of Justice            Attorney General                      attorney.general@delaware.gov
 DE Secretary of State                     Delaware Secretary of State         Division of Corporations              dosdoc_bankruptcy@state.de.us
 DE State Treasury                         Delaware State Treasury                                                   statetreasurer@state.de.us
 Counsel to Oracle America, Inc.           Doshi Legal Group, P.C.             Amish R. Doshi, Esq.                  amish@doshilegal.com
 Official Committee of Equity Security     Esopus Creek Value Series Fund LP -
 Holders                                   Series “A”                          Attn: Andrew L. Sole                 andrewsole@ecvlp.com
                                                                                                                    citizenservices@myfloridalegal.com;
 Attorney General of FL (emp operations)   Florida Attorney General              Attn Bankruptcy Department         oag.civil.eserve@myfloridalegal.com
                                                                                 Attention: Jerry Hsiao and Steven jerry.hsiao@foxconn.com;
 Foxconn                                   Foxconn EV Technology, Inc.           Yu                                 stevenyu@foxconn.com
                                                                                 c/o Hon Hai Precision Industry
 Foxconn                                   Foxconn Ventures Ptd. Ltd.            Co., Ltd. Attn Jerry Hsiao         jerry.hsiao@Foxconn.com
 Counsel to Marelli North America, Inc.    Frost Brown Todd LLP                  A.J. Webb, Esq                     awebb@fbtlaw.com
 Counsel to Akebono Brake Corporation      Frost Brown Todd LLP                  Edward M. King                     tking@fbtlaw.com
 Counsel to Marelli North America, Inc.    Frost Brown Todd LLP                  Patricia K. Burgess                pburgess@fbtlaw.com
 Attorney General of GA (emp operations)   Georgia Attorney General              Attn Bankruptcy Department         Agcarr@law.ga.gov
 Foxconn                                   Hon Hai Precision Industry Co., Ltd   Attention Jerry Hsiao              jerry.hsiao@Foxconn.com
 Attorney General of IL (emp operations)   Illinois Attorney General             Attn Bankruptcy Department         bankruptcy_notices@ilag.gov
 IRS                                       Internal Revenue Service              Attn Susanne Larson                SBSE.Insolvency.Balt@irs.gov
                                                                                                                    bruce@katten.com;
                                                                                 Bruce G. Vanyo, Sarah              sarah.eichenberger@katten.com;
 Co-Counsel to Edward Hightower and                                              Eichenberger, Jonathan             jonathan.rotenberg@katten.com;
 Adam Kroll                                  Katten Muchin Rosenman LLP          Rotenberg, Cindi M. Giglio         cgiglio@katten.com
 Bankruptcy Counsel to the to the                                                                                   metkin@lowenstein.com;
 Securities Litigation Lead Plaintiff George                                     Michael S. Etkin, Esq., Andrew     abehlmann@lowenstein.com;
 Troicky                                     Lowenstein Sandler LLP              Behlmann, Esq.,Scott Cargill, Esq. scargill@lowenstein.com




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                                   Page 1 of 3
                              Case 23-10831-MFW                    Doc 887            Filed 01/04/24               Page 5 of 17
                                                                           Exhibit A
                                                                    Core/2002 Service List
                                                                   Served via Electronic Mail



                Description                           CreditorName                         CreditorNoticeName                            Email
 Financial Advisor to the Official
 Committee of Equity Security Holders      M3 Advisory Partners                     Robert Winning                    rwinning@m3-partners.com
 Attorney General of MI (business
 operations)                               Michigan Attorney General                Attn Bankruptcy Department        miag@michigan.gov
 Counsel to Michigan Department of                                                  Heather L. Donald, Assistant
 Treasury                                  Michigan Department of Treasury          Attorney General                  donaldh@michigan.gov
 Counsel to GAC R&D Center Silicon         Miller, Canfield, Paddock and Stone,
 Valley, Inc.                              P.L.C.                                   Marc N. Swanson                 swansonm@millercanfield.com
 Counsel to the Official Committee of                                                                               emonzo@morrisjames.com;
 Equity Security Holders                   Morris James LLP                         Eric J. Monzo, Brya M. Keilson  bkeilson@morrisjames.com
                                                                                                                    rdehney@morrisnichols.com;
                                                                                    Robert J. Dehney, Matthew B.    mharvey@morrisnichols.com;
                                                                                    Harvey, Matthew O. Talmo, Donna mtalmo@morrisnichols.com;
 Counsel to Foxconn                        Morris, Nichols, Arsht & Tunnell LLP     L. Culver                       dculver@morrisnichols.com
 Attorney General of NC (emp operations) North Carolina Attorney General            Attn Bankruptcy Department      ncago@ncdoj.gov
                                           Office of the United States Trustee                                      USTPRegion03.WL.ECF@USDOJ.GOV;
 US Trustee for District of DE             Delaware                                 Benjamin Hackman                benjamin.a.hackman@usdoj.gov
 Attorney General of OH (business
 operations)                               Ohio Attorney General                Attn Bankruptcy Department            trish.lazich@ohioattorneygeneral.gov
 Counsel to Benjamin Hebert and Atri Amin
 on behalf of themselves and similarly
 situated stockholders of Lordstown Motors
 Corp. f/k/a DiamondPeak Holdings Corp. Pashman Stein Walder Hayden, P.C. Joseph C. Barsalona II                      jbarsalona@pashmanstein.com
                                                                                                                      mikehuang@paulhastings.com;
 Counsel to Foxconn                        Paul Hastings LLP                        Mike Huang, Kevin P. Broughel     kevinbroughel@paulhastings.com

 Attorney General of PA (emp operations) Pennsylvania Attorney General              Attn Bankruptcy Department        info@attorneygeneral.gov
 Official Committee of Equity Security
 Holders                                 Pertento Partners LLP                      Attn: Ian Trundle                 ian@pertento.com
 Counsel to Logicalis, Inc.              Polsinelli PC                              Christopher A. Ward               cward@polsinelli.com

 Counsel to Benjamin Hebert and Atri Amin
 on behalf of themselves and similarly                                                                                gfbruckner@pomlaw.com;
 situated stockholders of Lordstown Motors                                          Gustavo F. Bruckner, Samuel J.    sjadams@pomlaw.com;
 Corp. f/k/a DiamondPeak Holdings Corp. Pomerantz LLP                               Adams, Ankita Sangwan             asangwan@pomlaw.com
 Top 30 and Committee of Unsecured
 Creditors                                 SA Automotive LTD                        Shar Hedayat                      Shar.Hedayat@saautomotive.com
 Committee of Unsecured Creditors          SA Automotive Ltd.                       Attn: Katherine Diederich         katherine.diederich@aesseinvltd.com
 Counsel to Harco Manufacturing Group,
 LLC                                       Saul Ewing LLP                           Evan T. Miller                     evan.miller@saul.com
                                                                                                                       bankruptcynoticeschr@sec.gov;
 SEC Regional Office                       Securities & Exchange Commission         NY Regional Office                 nyrobankruptcy@sec.gov
 SEC Regional Office                       Securities & Exchange Commission         PA Regional Office                 philadelphia@sec.gov
                                                                                                                       SECBankruptcy-OGC-ADO@SEC.GOV;
 SEC Headquarters                          Securities & Exchange Commission         Secretary of the Treasury          secbankruptcy@sec.gov
                                           Skadden, Arps, Slate, Meagher &          Joseph O. Larkin, Esq., Stephen J. Joseph.Larkin@Skadden.com;
 Counsel to LAS Capital LLC                Flom LLP                                 Della Penna, Esq.                  stephen.dellapenna@skadden.com
                                           Skadden, Arps, Slate, Meagher &
 Counsel to LAS Capital LLC                Flom LLP                                 Robert D. Drain, Esq.             Robert.Drain@skadden.com
                                           Skadden, Arps, Slate, Meagher &          Ron E. Meisler, Esq., Jennifer    Ron.Meisler@Skadden.com;
 Counsel to LAS Capital LLC                Flom LLP                                 Madden, Esq.                      Jennifer.Madden@Skadden.com
 Counsel to Applied Medical Resources
 Corp.                                     Snell & Wilmer L.L.P.                    Andrew B. Still                   astill@swlaw.com
 Counsel to Elaphe Propulsion
 Technologies Ltd.                         Sullivan Hazeltine Allinson LLC          William A. Hazeltine              whazeltine@sha-llc.com
 Top 30 and Committee of Unsecured                                                                                    jbasso@diversifiedtoolinggroup.com;
 Creditors                                 Superior Cam Inc                         John Basso                        jmbasso@diversifiedtoolinggroup.com
                                                                                                                      bankruptcytax@oag.texas.gov;
 Attorney General of TX (emp operations)   Texas Attorney General                   Attn Bankruptcy Department        communications@oag.texas.gov
 Counsel to the Official Committee of      Troutman Pepper Hamilton Sanders         David M. Fournier, Tori L.        david.fournier@troutman.com;
 Unsecured Creditors                       LLP                                      Remington                         tori.remington@troutman.com
 Counsel to the Official Committee of      Troutman Pepper Hamilton Sanders
 Unsecured Creditors                       LLP                                      Deborah Kovsky-Apap               deborah.kovsky@troutman.com
 Counsel to the Official Committee of      Troutman Pepper Hamilton Sanders
 Unsecured Creditors                       LLP                                      Francis J. Lawall                 francis.lawall@troutman.com
 Counsel to the Official Committee of      Troutman Pepper Hamilton Sanders
 Unsecured Creditors                       LLP                                      Sean P. McNally                   sean.mcnally@troutman.com
 US Attorney for District of Delaware      US Attorney for District of Delaware     US Attorney for Delaware          usade.ecfbankruptcy@usdoj.gov




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                                      Page 2 of 3
                              Case 23-10831-MFW               Doc 887          Filed 01/04/24            Page 6 of 17
                                                                     Exhibit A
                                                              Core/2002 Service List
                                                             Served via Electronic Mail



               Description                         CreditorName                     CreditorNoticeName                      Email
 Counsel to Elaphe Propulsion
 Technologies, Ltd                       Warner Norcross + Judd LLP          Stephen B. Grow                sgrow@wnj.com
 Co-Counsel for the Debtors and Debtors-
 in-Possession                           White & Case LLP                    David M. Turetsky              david.turetsky@whitecase.com
 Co-Counsel for the Debtors and Debtors-
 in-Possession                           White & Case LLP                    Jason N. Zakia                 jzakia@whitecase.com
                                                                                                            rkampfner@whitecase.com;
 Co-Counsel for the Debtors and Debtors-                                     Roberto Kampfner, Doah Kim, RJ doah.kim@whitecase.com;
 in-Possession                           White & Case LLP                    Szuba                          rj.szuba@whitecase.com
                                                                                                            tlauria@whitecase.com;
 Co-Counsel for the Debtors and Debtors-                                     Thomas E Lauria, Matthew C.    mbrown@whitecase.com;
 in-Possession                           White & Case LLP                    Brown, Fan B. He               fhe@whitecase.com
 Local Co-Counsel for the Debtors and                                        Donald J. Detweiler, Morgan L. don.detweiler@wbd-us.com;
 Debtors-in-Possession                   Womble Bond Dickinson (US) LLP      Patterson                      morgan.patterson@wbd-us.com
                                                                                                            bankfilings@ycst.com;
 Counsel to Darren Post, Steve Burns,   Young Conaway Stargatt & Taylor,                                    sbeach@ycst.com;
 John LaFleur, and Rich Schmidt         LLP                                  Sean M. Beach, Shane Reil      sreil@ycst.com




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                               Page 3 of 3
Case 23-10831-MFW   Doc 887   Filed 01/04/24   Page 7 of 17




                    Exhibit B
                      Case 23-10831-MFW            Doc 887        Filed 01/04/24      Page 8 of 17
                                                       Exhibit B
                                              SEC Stipulation Service List
                                               Served via Electronic Mail

            Description                      CreditorName           CreditorNoticeName               Email
Counsel to the Official Committee
of Equity Security Holders             Brown Rudnick LLP           Tristan G. Axelrod     taxelrod@brownrudnick.com
Counsel to the Official Committee      Troutman Pepper Hamilton    Marcy J. McLaughlin
of Unsecured Creditors                 Sanders LLP                 Smith                  marcy.smith@troutman.com
Counsel to U.S. Securities and         U.S. Securities and
Exchange Commission                    Exchange Commission         David W. Baddley       baddleyd@sec.gov




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                               Page 1 of 1
Case 23-10831-MFW   Doc 887   Filed 01/04/24   Page 9 of 17




                    Exhibit C
                                                           Case 23-10831-MFW                        Doc 887         Filed 01/04/24               Page 10 of 17
                                                                                                            Exhibit C
                                                                                                      Core/2002 Service List
                                                                                                    Served via First Class Mail



             Description                     CreditorName                      CreditorNoticeName                Address1                  Address2             Address3             City        State     Zip      Country
  Committee of Unsecured Creditors Barry L. Leonard & Co. Inc.           Attn: Kim Parsons                920 Brenner St                                                       Winston-Salem     NC    27101
  Top 30 and Committee of          Barry L. Leonard and Company          dba Trans Machine
  Unsecured Creditors              Inc.                                  Technologies                     Barry Leonard               920 Brenner St                           Winston-Salem     NC    27101
  Attorney General of CA (business
  operations)                      California Attorney General           Attn Bankruptcy Department       1300 I St., Ste. 1740                                                Sacramento        CA    95814-2919
  Official Committee of Equity                                                                            201 Main Street, Suite
  Security Holders                 Crestline Management, L.P.            Attn: Shaun McGowan              1100                                                                 Fort Worth        TX    76102
                                                                                                          Attn Bankruptcy             Carvel State
  Delaware State AG and DOJ            Delaware Dept of Justice          Attorney General                 Department                  Building              820 N French St    Wilmington        DE    19801
  DE Secretary of State                Delaware Secretary of State       Division of Corporations         Franchise Tax               PO Box 898                               Dover             DE    19903
                                                                                                          820 Silver Lake Blvd.,
  DE State Treasury                    Delaware State Treasury                                            Suite 100                                                            Dover             DE    19904
  Attorney General of FL (emp
  operations)                          Florida Attorney General          Attn Bankruptcy Department       PL-01 The Capitol                                                    Tallahassee       FL    32399-1050
                                                                                                                                      Grand Pavilion,       802 West Bay                                            Cayman
  Foxconn                              Foxconn (Far East) Limited                                         P.O. Box 31119              Hibiscus Way          Road               Grand Cayman            KY1-1205     Islands
                                                                         Attention: Jerry Hsiao and       4568 Mayfield Road, Suite
  Foxconn                              Foxconn EV Technology, Inc.       Steven Yu                        204                                                                  Cleveland         OH    44121
                                                                         c/o Hon Hai Precision Industry                          Tucheng Industrial
  Foxconn                              Foxconn Ventures Ptd. Ltd.        Co., Ltd. Attn Jerry Hsiao       No. 66, Zhongshan Road Zone                       Tucheng District   New Taipei City         23680        Taiwan
                                                                                                                                 Grand Pavilion,            802 West Bay                                            Cayman
  Foxconn                              Foxteq Holdings Inc.                                               P.O. Box 31119         Hibiscus Way               Road               Grand Cayman            KY1-1205     Islands
                                                                                                                                 Grand Pavilion,            802 West Bay                                            Cayman
  Foxconn                              Foxteq Integration Inc.                                            P.O. Box 31119         Hibiscus Way               Road               Grand Cayman            KY1-1205     Islands
  Attorney General of GA (emp
  operations)                          Georgia Attorney General          Attn Bankruptcy Department       40 Capital Square, SW                                                Atlanta           GA    30334-1300
                                       Hon Hai Precision Industry Co.,                                                           Tucheng Industrial
  Foxconn                              Ltd                               Attention Jerry Hsiao            No. 66, Zhongshan Road Zone                       Tucheng District   New Taipei City         23680        Taiwan
  Attorney General of IL (emp
  operations)                          Illinois Attorney General         Attn Bankruptcy Department       James R. Thompson Ctr       100 W. Randolph St.                      Chicago           IL    60601
  IRS                                  Internal Revenue Service          Attn Susanne Larson              31 Hopkins Plz Rm 1150                                               Baltimore         MD    21201
                                                                         Centralized Insolvency
  IRS                                  Internal Revenue Service          Operation                        PO Box 7346                                                          Philadelphia      PA    19101-7346
  Financial Advisor to the Official
  Committee of Equity Security                                                                            1700 Broadway, 19th
  Holders                              M3 Advisory Partners              Robert Winning                   Floor                                                                New York          NY    10019
  Attorney General of MI (business                                                                        G. Mennen Williams
  operations)                          Michigan Attorney General         Attn Bankruptcy Department       Building                    525 W. Ottawa St.     P.O. Box 30212     Lansing           MI    48909
  Attorney General of NC (emp
  operations)                          North Carolina Attorney General Attn Bankruptcy Department         9001 Mail Service Center                                             Raleigh           NC    27699-9001
                                       Office of the United States
  US Trustee for District of DE        Trustee Delaware                Benjamin Hackman                   844 King St Ste 2207        Lockbox 35                               Wilmington        DE    19801
  Attorney General of OH (business
  operations)                          Ohio Attorney General             Attn Bankruptcy Department    30 E. Broad St. 14th Fl                                                 Columbus          OH    43215-0410
  Counsel to Foxconn                   Paul Hastings LLP                 Mike Huang, Kevin P. Broughel 200 Park Avenue                                                         New York          NY    10166
  Foxconn                              PCE Paragon Solutions Kft.                                      Komarom                        Banki Donatu utca 1                                              2900       Hungary
  Attorney General of PA (emp                                                                          16th Floor, Strawberry
  operations)                          Pennsylvania Attorney General     Attn Bankruptcy Department    Square                                                                  Harrisburg        PA    17120
  Official Committee of Equity                                                                                                                                                                                      United
  Security Holders                     Pertento Partners LLP             Attn: Ian Trundle                111 Park Street                                                      London                  W1K 7JL      Kingdom




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                                                                    Page 1 of 2
                                                        Case 23-10831-MFW                    Doc 887         Filed 01/04/24           Page 11 of 17
                                                                                                     Exhibit C
                                                                                               Core/2002 Service List
                                                                                             Served via First Class Mail



             Description                    CreditorName              CreditorNoticeName                   Address1             Address2              Address3               City   State      Zip       Country
  Top 30 and Committee of
  Unsecured Creditors              SA Automotive LTD             Shar Hedayat                      1307 Highview Dr                                                 Webberville     MI      48892
  Committee of Unsecured Creditors SA Automotive Ltd.            Attn: Katherine Diederich         1307 Highview Drive                                              Webberville     MI      48892
                                   Securities & Exchange                                                                   100 Pearl St., Suite
  SEC Regional Office              Commission                    NY Regional Office                Regional Director       20-100                                   New York        NY      10004-2616
                                   Securities & Exchange                                                                                          1617 JFK
  SEC Regional Office              Commission                    PA Regional Office                Regional Director       One Penn Center        Boulevard Ste 520 Philadelphia    PA      19103
                                   Securities & Exchange
  SEC Headquarters                 Commission                    Secretary of the Treasury         100 F St NE                                                      Washington      DC      20549
  Top 30 and Committee of
  Unsecured Creditors              Superior Cam Inc              John Basso                        31240 Stephenson Hwy                                             Madison Heights MI      48071
  Attorney General of TX (emp
  operations)                      Texas Attorney General        Attn Bankruptcy Department        300 W. 15th St                                                   Austin          TX      78701
  US Attorney for District of      US Attorney for District of
  Delaware                         Delaware                      US Attorney for Delaware          1313 N Market Street    Hercules Building                        Wilmington      DE      19801




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                                                             Page 2 of 2
Case 23-10831-MFW   Doc 887   Filed 01/04/24   Page 12 of 17




                    Exhibit D
                                        Case 23-10831-MFW         Doc 887    Filed 01/04/24    Page 13 of 17
                                                                      Exhibit D
                                                             SEC Stipulation Service List
                                                              Served via First Class Mail

                      Description                CreditorName     CreditorNoticeName         Address1           City   State      Zip
               Counsel to U.S. Securities   U.S. Securities and                        950 East Paces Ferry
               and Exchange Commission      Exchange Commission   David W. Baddley     Road, N.E., Suite 900   Atlanta GA      30326-1382




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                               Page 1 of 1
Case 23-10831-MFW   Doc 887   Filed 01/04/24   Page 14 of 17




                    Exhibit E
                          Case 23-10831-MFW                Doc 887           Filed 01/04/24      Page 15 of 17
                                                                   Exhibit E
                                                          Fee Application Service List
                                                           Served via Electronic Mail


             Description                       CreditorName                  CreditorNoticeName                         Email
Counsel to the Official Committee of                                     Matthew A. Sawyer, Sharon I. msawyer@brownrudnick.com;
Equity Security Holders                Brown Rudnick LLP                 Dwoskin                      sdwoskin@brownrudnick.com
                                                                         Robert J. Stark, Bennett S.  rstark@brownrudnick.com;
Counsel to the Official Committee of                                     Silverberg, Michael S.       bsilverberg@brownrudnick.com;
Equity Security Holders                Brown Rudnick LLP                 Winograd                     mwinograd@brownrudnick.com
Debtors                                Lordstown Motors Corp.            Attn: Adam Kroll             Email Redacted
Counsel to the Official Committee of                                     Eric J. Monzo, Brya M.       emonzo@morrisjames.com;
Equity Security Holders                Morris James LLP                  Keilson                      bkeilson@morrisjames.com
                                       Office of the United States                                    USTPRegion03.WL.ECF@USDOJ.GOV;
US Trustee for District of DE          Trustee Delaware                  Benjamin Hackman             benjamin.a.hackman@usdoj.gov
Counsel to the Official Committee of   Troutman Pepper Hamilton          David M. Fournier, Tori L.   david.fournier@troutman.com;
Unsecured Creditors                    Sanders LLP                       Remington                    tori.remington@troutman.com
Counsel to the Official Committee of   Troutman Pepper Hamilton
Unsecured Creditors                    Sanders LLP                       Deborah Kovsky-Apap       deborah.kovsky@troutman.com
Counsel to the Official Committee of   Troutman Pepper Hamilton
Unsecured Creditors                    Sanders LLP                       Francis J. Lawall         francis.lawall@troutman.com
Counsel to the Official Committee of   Troutman Pepper Hamilton
Unsecured Creditors                    Sanders LLP                       Sean P. McNally           sean.mcnally@troutman.com
Co-Counsel for the Debtors and
Debtors-in-Possession                  White & Case LLP                  David M. Turetsky         david.turetsky@whitecase.com
Co-Counsel for the Debtors and
Debtors-in-Possession                  White & Case LLP                  Jason N. Zakia              jzakia@whitecase.com
                                                                                                     rkampfner@whitecase.com;
Co-Counsel for the Debtors and                                           Roberto Kampfner, Doah      doah.kim@whitecase.com;
Debtors-in-Possession                  White & Case LLP                  Kim, RJ Szuba               rj.szuba@whitecase.com
                                                                                                     tlauria@whitecase.com;
Co-Counsel for the Debtors and                                           Thomas E Lauria, Matthew C. mbrown@whitecase.com;
Debtors-in-Possession                White & Case LLP                    Brown, Fan B. He            fhe@whitecase.com
Local Co-Counsel for the Debtors and Womble Bond Dickinson (US)          Donald J. Detweiler, Morgan don.detweiler@wbd-us.com;
Debtors-in-Possession                LLP                                 L. Patterson                morgan.patterson@wbd-us.com




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                              Page 1 of 1
Case 23-10831-MFW   Doc 887   Filed 01/04/24   Page 16 of 17




                    Exhibit F
                                          Case 23-10831-MFW             Doc 887    Filed 01/04/24   Page 17 of 17
                                                                            Exhibit F
                                                                   Fee Application Service List
                                                                    Served via First Class Mail

                   Description                   CreditorName           CreditorNoticeName      Address1      Address2     City    State Zip
                                          Office of the United States                        844 King St Ste
          US Trustee for District of DE   Trustee Delaware              Benjamin Hackman     2207            Lockbox 35 Wilmington DE   19801




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                                     Page 1 of 1
